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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


BUNN ENTERPRISES, INC., ET AL.                  :        CASE NO. 2:13-CV-00357
                                                :
               Plaintiff,                       :
                                                :        JUDGE MARBLEY
       v.                                       :
                                                :        MAGISTRATE JUDGE KEMP
THE OHIO OPERATING                              :
ENGINEERS FRINGE BENEFIT                        :
PROGRAMS                                        :
                                                :
               Defendant.                       :

DEFENDANT’S OPENING BRIEF IN OPPOSITION TO PLAINTIFFS’ REQUEST FOR
                    PRELIMINARY INJUNCTION

I.     INTRODUCTION

       The Temporary Restraining Order issued by the Court acknowledges that it was issued

without consideration of “whether the Plaintiffs are likely to succeed on the merits.” See TRO, p.

4. To obtain a preliminary injunction Plaintiffs bear a stringent burden to prove that they have a

strong likelihood of success on the merits. They cannot. In fact, the claims of the individual

Plaintiffs could not survive a motion to dismiss. The individual Plaintiffs challenge current and

apparently future determinations by the Defendant regarding eligibility for health and welfare

(“H&W”) benefits. Plaintiffs have failed to exhaust their administrative remedies, as required to

assert such claims. Moreover, Plaintiffs lack a ripe justiciable disputes with the Funds.

       Bunn Enterprises is merely using its employees in an attempt to gain some advantage in

its dispute with the Funds over its failure to pay contributions on behalf of its employees. The

individual Plaintiffs should be asserting causes of action against Bunn Enterprises, not the Funds.




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II.     LAW AND ARGUMENT

        A.      Standard for Issuance of Preliminary Injunction

        When considering a motion for a preliminary injunction, a district court must balance

four factors: “(1) whether the movant has a strong likelihood of success on the merits; (2)

whether the movant would suffer irreparable injury absent the injunction; (3) whether the

injunction would cause substantial harm to others; and (4) whether the public interest would be

served by the issuance of an injunction.” Am. Freedom Def. Initiative v. Suburban Mobility

Auth., 698 F.3d 885, 889-890 (6th Cir. 2012). "[T]he proof required for the plaintiff to obtain a

preliminary injunction is much more stringent than the proof required to survive a summary

judgment motion" because a preliminary injunction is an extraordinary remedy.” McNeilly v.

Terri Lynn Land, 684 F.3d 611, 615 (6th Cir. 2012). Under this standard, Plaintiffs are not

entitled to injunctive relief.

        B.      Plaintiffs Cannot Succeed on the Merits.

                1. Plaintiffs Have Failed to Exhaust their Administrative Remedies.

        The Sixth Circuit has held that “the administrative scheme of ERISA requires a

participant to exhaust his or her administrative remedies prior to commencing suit in federal

court.” Coomer v. Bethesda Hosp., Inc., 370 F.3d 499, 504 (6th Cir. 2004) (quoting Miller v.

Metropolitan Life Ins. Co., 925 F.2d 979, 986 (6th Cir. 1991)). “This is the law in most circuits

despite the fact that ERISA does not explicitly command exhaustion." Coomer, 370 F.3d at 504

(quoting Ravencraft v. UNUM Life Ins. Co., 212 F.3d 341, 343 (6th Cir. 2000)). The exhaustion

requirement “enables plan fiduciaries to efficiently manage their funds; correct their errors;

interpret plan provisions; and assemble a factual record which will assist a court in reviewing the




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fiduciaries' actions." Ravencraft, 212 F.3d at 343 (quoting Makar v. Health Care Corp., 872 F.2d

80, 83 (4th Cir. 1989)); see also Barix Clinics of Ohio, Inc., 459 F. Supp. 2d at 621-622.

       Plaintiff Morgan has commenced this action to challenge the determination of the Health

and Welfare Plan Administrator that he is not eligible for benefits. Plaintiffs Bunn and Lantz are

currently eligible for benefits from the H&W Fund, but are apparently challenging the

anticipated future loss of benefits. Plaintiffs Schau and Welch concede they are currently

ineligible for benefits from the H&W Fund, but apparently challenge some future decision be the

H&W Fund to deny them benefits in the future should they become eligible.               Separately,

Plaintiff Newlon challenges the Pension Fund’s October 2011 decision to suspend his benefits.

       In addition to the obvious lack of ripeness of many of Plaintiffs claims, none of the

individual Plaintiffs have exhausted their administrative remedies. This failure alone is fatal to

their claims against the H&W and Pension Funds.

       The H&W Plan Section IX provides:


       If the Plan Administrator determines that a claimant is not eligible as a Member or
       Eligible Dependent under Section II, the claimant may request that the Trustees
       review that determination. The request must be made in writing, must include the
       reasons for requesting the review, and must be submitted to the Plan Administrator
       within 180 days after the date that the determination is made. The claimant may
       submit additional evidence of eligibility.

Section IX, ¶ I.2.

       Section IX further states: “No lawsuit can be brought to recover under the Plan unless the

claimant has complied with the applicable appeal procedures and completed the appeal process.”

Section IX, ¶ I.3.

       The Section 14.03 of the Pension Plan has similar provisions:



       Review Procedure
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       If a claim for benefits is denied, the claimant may request a review of the claim by
       the Trustees within 60 days after notice of the denial (180 days in the case of a
       claim for disability benefits pursuant to Section 4.03 of the Plan).
***
       No action at law or equity shall be brought against the Trustees to recover under
       the Plan unless the claimant has complied with the claims and review procedures
       and exhausted his administrative remedies.

       The individual Plaintiffs are challenging an eligibility determination of the Plan

Administrator. The Plan provides for an appeal process for those determinations. That appeal

process is a prerequisite to initiating any action in this Court. Having failed to exhaust their

administrative remedies, Plaintiff’s claims against the Funds fail as a matter of law.        See

Ravencraft v. UNUM Life Ins. Co. of America, 212 F.3d 341, 344 (6th Cir. 2000); see also,

Douglas Willard v. Ohio Operating Engineers Pension Plan, Case No. 2:12-cv-266, p. 8 (S.D.

Ohio Jan. 13, 2013)(attached hereto as Exhibit A).

              2. Plaintiffs’ Claims Are Not Ripe.

       Defendant presumes that claims of Bunn Enterprises and of Delbert Newlon are not part

of the Preliminary Injunction hearing for the reasons this Court stated in its Temporary

Restraining Order; i.e., there is no irreparable harm. (See ECF Doc. No. 8, p. 3) (“the dispute

between Plaintiff Bunn and Defendant is only over a matter of money owed”). Of the remaining

claims of Plaintiffs Lantz, Morgan, Schau, and Welch, only the claims of Morgan could be ripe.

       The Supreme Court has stated that the basic rationale of the ripeness doctrine “is to

prevent the courts, through premature adjudication from entangling themselves in abstract

disagreements.” Thomas v. Union Carbide Agricultural Products Co., 473 U.S. 568, 580, 87 L.

Ed. 2d 409, 105 S. Ct. 3325 (1985). The Sixth Circuit has refined this sentiment. Brown v. Ferro

Corp., 763 F.2d 798, 801 (6th Cir. 1985) ("The ripeness doctrine not only depends on the finding

of a case and controversy and hence jurisdiction under Article III, but it also requires that the

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court exercise its discretion to determine if judicial resolution would be desirable under all of the

circumstances.”).    In undertaking a ripeness analysis, courts must weigh several factors,

including the likelihood that the harm alleged by plaintiffs will ever come to pass. Thomas, 473

U.S. at 580-81 (finding a case not ripe when it involved “contingent future events that may not

occur as anticipated, or indeed may not occur at all.’”)

        Presently, Morgan is not eligible for health and welfare benefits. He may appeal that

determination to the Trustees (See Section B.1., supra) upon completion of the appeal, he may

seek judicial review of that decision under an arbitrary and capricious standard. Rhodes v.

Prudential Ins. Co., 2010 U.S. Dist LEXIS 128383, at *16 (S.D. Ohio Dec. 6, 2010) (J. Marbley)

        Plaintiffs Schau and Welch are admittedly not currently employed by Bunn Enterprises

and seek relief only in the event that they “return to work for Bunn Enterprises and once again

become eligible for health benefits through the Fund.” See Temporary Restraining Order p. 4

(ECF Doc. #8). A number of unknowable future contingencies will impact Schau and Welch’s

eligibility for benefits.   For instance, either plaintiff could work for another contributing

employer and have sufficient hours contributed to support their future benefits. Bunn Enterprises

could make contributions on behalf of Schau and Welch for past service that would entitle them

to benefits even if they do not return to work for Bunn. Schau or Welch could make self-pay

contributions to continue their coverage. Thus, the status of Schau and Welch’s H&W benefits

at some unknown future date when they may return to work for Bunn Enterprises is dependent

upon many future contingencies. Any claims that Schau and Welch may have in the future are

not yet ripe.

        Plaintiff Lantz is currently eligible for H&W benefits, and has given notice that he

intends to retire effective April 30, 2013. Lantz will be eligible for benefits through the date of


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his retirement and has elected to continue his coverage with self-pay contributions into

retirement. Finally, Plaintiff Bunn too is currently eligible for H&W benefits and has sufficient

contributions to provide coverage through July 31, 2013. If Bunn or another employer makes

additional contributions, Mr. Bunn’s coverage can be extended.

       Each of the individual Plaintiffs have failed to exhaust their administrative remedies and

only Morgan has a ripe justifiable dispute in that he has lost his H&W benefits. Absent a ripe

dispute, Plaintiffs cannot demonstrate a strong likelihood of success nor can they demonstrate

actual harm, let alone irreparable harm.

               3. Plaintiffs Health and Welfare Benefits Have Been Jeopardized By Bunn
                  Enterprises Failure to Make Contributions to the Fund.

       Plaintiffs’ request for injunctive relief is premised upon the flawed contention that

Defendant has “withheld insurance benefits” from the individual plaintiffs. See Motion for TRO

p. 17. To the contrary, the H&W benefits to which Plaintiffs’ Motion refers have not been

provided because no one has paid for them. The H&W Fund provides health and welfare

benefits to individuals for whom contributions are received from contributing employers. To the

extent Plaintiffs have suffered or may in the future suffer a lapse in coverage it will be because

their employer, Plaintiff Bunn Enterprises, has failed to make sufficient contributions to the

Funds to provide for those benefits. Moreover, when a contributing employer fails to pay

contributions or an individual suffers a period of unemployment, the H&W Fund provides them

the opportunity to self-pay contributions to continue their elgibility. Thus, Plaintiffs will only

lose coverage if Bunn Enterprises fails to make the required contributions to the Funds and the

individual Plaintiffs fail to make self-contributions.

       Bunn Enterprises has failed to pay more than $ 50,000 in contributions owed to the Funds

on behalf of its employees. Compl. ¶ 41. Much of the unpaid contributions are attributable to

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Bunn Enterprises’ failure to pay contributions based upon hours worked by operating engineers

that Bunn Enterprises contends was outside the scope of the CBA with the Operating Engineers

Union (“Local 18”). Bunn Enterprises contends that it is not obligated to make contributions

based upon all hours paid to its employees but only based upon hours worked within the work

jurisdiction of the Union. Compl. ¶ 43.

       Bunn Enterprises’ position is inconsistent with the CBA and with the decades of

precedent from this Court interpreting the very same contract language.   The CBA provides:

       Fringe benefit contributions shall be paid at the following rates for all
       hours paid to each employee by the Employer under this Agreement
       which shall in no way be considered or used in the determination of
       overtime pay. Hours paid shall include holidays and reporting hours
       which are paid.

CBA at ¶ 35 (emphasis added).

       This language has remained unchanged in the CBA for decades and has been repeatedly

held by this Court to require contributions based upon all hours paid to the employees. Whether

an employee is performing non-covered work for some of the hours he worked is immaterial to

determining the contributions due to the Funds.     Noe v. R.D. Jones Excavating, 787 F. Supp

759, 765 (S.D. Ohio 1992) (holding employer “obligated to contribute to the Fringe Benefit

Funds based on all the hours worked by the employees, no matter the totality of their

assignments”); Orrand v. Shope, 2001 WL 1763437, at * 2-3 (S.D. Ohio Jan. 30, 2001) (attached

hereto as Exhibit B).

       In Shope the employer made precisely the same argument as has Bunn under the same

contract language. Id. at *2. This Court decided:

       The language of the [CBA] strongly support [the Funds] position. It requires
       fringe benefit to be made for all hours paid to each employee by the employer
       without making a distinction between hours paid for covered employment and
       hours paid for other work.

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Id. As recently as 2010, this Court has reaffirmed this interpretation of the CBA language. In

2010, this Court found that “the language of the CBA is clear that fringe benefit contributions are

to be made for all employees performing work covered by the CBA for all hours paid. Orrand

et al. v. Keim Concrete Pumping, Case No. 2:08-cv-1046, at p. 32 (Aug. 30, 2010 S.D. Ohio) (J.

Marbley) (emphasis added).

          In an effort to avoid the obvious conclusions of R.D. Jones and Shope, Plaintiffs contend

that Sixth Circuit’s 1994 Grimaldi decision somehow alters the holdings of R.D. Jones, Shope

and Keim. It does not. The underlying collective bargaining agreements are vastly different in

the hours for which employers must pay. In Grimaldi, “[t]he parties stipulated that driveway and

sidewalk work was covered by the Agreement and have also stipulated that contributions were

not required for other concrete pouring work.” Id. Unlike Grimaldi, Bunn Enterprises’ CBA

with the Union requires contributions based on all hours paid regardless of “the totality of their

assignments.” R. D. Jones, 787 F. Supp. at 765. Moreover, Grimaldi focused on an employer’s

obligation to maintain adequate records reflecting the hours worked by employees under the

CBA.      In Grimaldi accurate records reflecting employees covered work hours versus non-

covered work hours were important because the CBA in that case only required contributions be

paid based on hours spent on covered work. Michigan Laborers v. Grimaldi Concrete, Inc., 30 F.

3d 692, 694 (6th Cir. 1994).          Here, the collective bargaining agreement requires that

contributions be paid for all hours paid, including holidays, when no work is performed. Thus,

both Shope and Keim were correctly decided. Because Plaintiffs’ argument in contrary to

decades of binding precedent, they cannot demonstrate a strong likelihood of success on the

merits.



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       C.      Plaintiffs Have Not Established Irreparable Injury.

       A plaintiff's harm is irreparable only if it is not fully compensable by monetary damages.

Overstreet v. Lexington-Fayette Urban County Gov't, 305 F.3d 566, 578 (6th Cir. 2002). Here,

Plaintiffs allege no injury that could not be compensated through monetary damages.

       First, Bunn Enterprises could pay the audit amount to the Funds and then proceed with its

declaratory judgment action (not under ERISA, however).1 If Bunn Enterprises were to prevail,

the Funds would refund any overpayment to it. This option has the additional benefit to Bunn

Enterprises of avoiding further interest and late charges chargeable under 29 U.S.C. 1132(g).

       Second, any of the individual Plaintiffs who face a lapse in coverage will have the option

to self-pay monthly premiums to continue their health and welfare coverage. (See Exhibit C) If

Plaintiffs were to prevail against the Funds or if the Funds subsequently collect contributions

from Bunn Enterprises based upon hours worked by the individual Plaintiffs, the self-paid

contributions would be refunded. Because Plaintiffs allege injury that could be fully addressed

through monetary relief, a preliminary injunction is improper.

       D.      An Injunction Will Cause Substantial Harm to the Fund and its Participants.

       Estimating that the best defense is a good offense, Bunn Enterprises is using its own

employees as pawns in an effort to avoid its obligations to pay for their pension and health and

welfare benefits. Bunn Enterprises’ contributions do not simply fund the benefits provided to its

current employees on a month-by-month basis.         Employer contributions from contributing

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 There is no subject matter jurisdiction for Bunn Enterprises’ claims under ERISA, 29 U.S.C. §
1132, as an employer. Great Lakes Steel, Div. of Nat’l Steel Corp. v. Deggendorf, 716 F.2d
1101 (6th Cir. 1983).
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employers across the state are pooled to allow the Funds to provide benefits to their employees,

retirees, and their families.   In this respect, risk and costs are shared by all contributing

employers. To provide these benefits, the Funds expect to receive contributions from all

employers for “all hours paid” times the contribution rate. Plaintiffs’ misconstruction of the

collective bargaining agreement jeopardizes the funding of the entire H&W Plan, and all the

Plans. Indeed, as to the Pension Plan, there are regulated funding requirements that could impact

the financial position of the Pension Plan if Plaintiffs’ interpretation were adopted.

       Bunn Enterprises wants benefits to be provided to its employees without meeting their

obligations to pay for those benefits. Ironically, Bunn Enterprises has joined with its employees

as co-plaintiffs in this litigation. The appropriate remedies for Bunn Enterprises’ employees is to

(1) file an unfair labor practice with the National Labor Relations Board based upon Bunn

Enterprises’ repudiation of their obligations under the labor agreement or (2) file an action under

§ 301 of the Labor Management Relations Act against Bunn Enterprises to enforce their rights to

contributions under the CBA. The conflict and inconsistency between the positions of Bunn

Enterprises and its employees is palpable.

       E.      The Public Interest Is Not Served By an Injunction

       The requested relief rewards Bunn Enterprises for its failure to pay contributions. The

Funds would be harmed, Bunn Enterprises will be unjust enriched, and Bunn Enterprises’

competitors, who meet their obligations under the CBA, will be placed at a disadvantage because

they are paying the fringe benefit contributions for their employees.

IV.    CONCLUSION

       For the foregoing reasons, Plaintiffs are not entitled to preliminary injunctive relief.




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                                     Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

           I hereby certify that on April 26, 2012, I electronically filed the foregoing Defendant’s

Opening Brief in Opposition to Plaintiffs’ Request for Preliminary Injunction using the Court’s

CM/ECF system, which will send notification of such filing to the following ECF users:

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